Case Case
     2:06-cv-00318-LED    Document
           2:06-cv-00318-LED       170 168-2
                              Document  Filed 06/05/08    Page 1 of 1Page
                                                 Filed 06/03/2008     PageID
                                                                          1 of#:1 2577



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 GWIN, INC., a Delaware Corporation and     §
 RENHCOL, INC., a Delaware Corporation,     §
                                            §
      Plaintiffs,                           §             Civil Action No. 2:06-CV-318(LED)
                                            §
   v.                                       §             Jury Trial Demanded
                                            §
 DON BEST SPORTS, a Nevada corporation,     §
 VEGAS INSIDER.COM, a United Kingdom        §
      company,                              §
 VEGAS EXPERTS.COM, a Delaware corporation, §
 PREFERRED PICKS PUBLICATIONS, INC.,        §
      an Ohio corporation                   §
 SPORTS DIRECT, INC., a Canadian            §
      corporation, and                      §
 COVERS MEDIA GROUP LTD., an Irish          §
      company,                              §
                                            §
      Defendants.                           §

                                           ORDER

        Came on for consideration the Agreed Motion to Dismiss and the Court is of the opinion

 that the Motion should be GRANTED.

        IT IS, THEREFORE, ORDERED that all claims between GWIN, INC., RENHCOL,

 INC., and VEGAS EXPERTS.COM, in the above-captioned action are hereby DISMISSED

 WITH PREJUDICE. Each party shall bear its own costs, attorneys’ fees, and other expenses.

        So ORDERED and SIGNED this 5th day of June, 2008.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE
